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                                                                                  Resorts U.S., Inc.
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                                                                            13                            UNITED STATES DISTRICT COURT
                                                                            14                         CENTRAL DISTRICT OF CALIFORNIA
                                                                            15    T.P., by and through S.P., as next             CASE 2:15-cv-05346-CJC-E
                                                                                  friend, parent, and natural guardian; et
                                                                            16    al.,                                           DISNEY’S REPLY IN SUPPORT
                                                                                                                                 OF ITS MOTION TO EXCLUDE
                                                                            17                        Plaintiffs,                THE TESTIMONY AND
                                                                                                                                 STRIKE THE REPORT AND
                                                                            18            v.                                     OPINIONS OF DR. LILA
                                                                                                                                 KIMEL IN BELLWETHER V
                                                                            19
                                                                                  WALT DISNEY PARKS AND                          Date: May 3, 2021
                                                                            20    RESORTS U.S., INC.,                            Time: 1:30 p.m.
                                                                                                                                 Judge: Hon. Cormac J. Carney
                                                                            21                        Defendant.                 Courtroom: 9B
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                                                                                  Reply ISO Disney’s Mot. To Exclude Dr. Kimel                     (No. 2:15-cv-05346-CJC-E)
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                                                                             1                                     PRELIMINARY STATEMENT
                                                                             2             Plaintiffs do not dispute the substance of Disney’s Daubert motion or the
                                                                             3   defects in Dr. Kimel’s report and deposition testimony, including that she
                                                                             4   plagiarized her report, falsely denied doing so under oath, committed ethical
                                                                             5   violations in her research, relied on erroneous facts, failed to read articles she cited,
                                                                             6   and is not an expert in the specific areas relevant to this case. Instead, they claim
                                                                             7   those flaws may warrant impeaching her opinions but not excluding them. But they
                                                                             8   ignore a multitude of cases where courts have excluded expert witness testimony
                                                                             9   for far less. They have not cited, and we are not aware of, any court decision
                                                                            10   denying a Daubert motion involving facts remotely like the ones here. 1 Given that
                                                                            11   Dr. Kimel is not qualified to serve as an expert in this case and that her opinions are
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                                                                            12   both unreliable and unhelpful to the trier of fact, Disney’s motion should be
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                                                                            13   granted.
                                                                            14   I.        DR. KIMEL IS ADMITTEDLY UNQUALIFIED
                                                                            15             Plaintiffs admit that Dr. Kimel “does not consider herself an expert” in the
                                                                            16   areas of “delayed gratification” and “understanding time,” but contend that she
                                                                            17   should nonetheless be permitted to testify as an expert in this case because those
                                                                            18   areas have been relevant to individual patients Dr. Kimel has treated in her private
                                                                            19   practice. Doc. 498, Pls.’ Opp. at 5. Brain cancer may be relevant to individual
                                                                            20   patients who are treated by an oncologist, but that does not make the oncologist an
                                                                            21   expert in the surgical procedure of removing a brain tumor. A qualified expert like
                                                                            22   Dr. Kelderman would not need to type “autism and deferred gratification” into a
                                                                            23   basic Google search bar to search for background on that topic, as Dr. Kimel did.
                                                                            24             Recognizing that “[e]xpert evidence can be both powerful and quite
                                                                            25   misleading because of the difficulty in evaluating it,” Daubert v. Merrell Dow
                                                                            26
                                                                                 1
                                                                            27     In a tacit concession that Dr. Kimel’s report is grossly deficient, they have tried to
                                                                                 rehabilitate her by attaching a 10-page declaration—an untimely, backdoor attempt
                                                                            28   to supplement her report—which Disney has moved to strike. See Doc. 503.

                                                                                     Reply ISO Disney’s Mot. To Exclude Dr. Kimel                     (No. 2:15-cv-05346-CJC-E)
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                                                                             1   Pharms., 509 U.S. 579, 595 (1993) (internal quotations omited), this Circuit has
                                                                             2   emphasized that federal judges should exclude such evidence “unless they are
                                                                             3   convinced that it speaks clearly and directly to an issue in dispute in the case, and
                                                                             4   that it will not mislead the jury.” Daubert v. Merrell Dow Pharms., 43 F.3d 1311,
                                                                             5   1321, n.17 (9th Cir. 1995) (emphasis added). Disney respectfully suggests it would
                                                                             6   be difficult for this Court to be convinced of that, particularly in light of Dr.
                                                                             7   Kimel’s deposition testimony. While plaintiffs claim that Dr. Kimel “[brought]
                                                                             8   herself up to date on current research” in preparing her report (Pls.’ Opp. at 5), they
                                                                             9   ignore her admission that she did not even read some of the studies she relied upon
                                                                            10   in her report. Doc. 489-1, Def. Mem. Mot. at 10-11. Dr. Kimel’s lack of
                                                                            11   specialized knowledge relevant to this case was exacerbated by what she repeatedly
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                                                                            12   characterized as “not hav[ing] a lot of time truthfully to prepare.” Id. at 11-12.
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                                                                            13          Plaintiffs also claim that Disney “does not question Dr. Kimel’s education
                                                                            14   and background,” Pls.’ Opp. at 6, but that is not true. First, as explained in the
                                                                            15   instant motion (Doc. 489-1 at 2-4), she lacks the specialized education and
                                                                            16   background necessary to assist the trier of fact in understanding the issues in this
                                                                            17   case. Second, she admitted that she likely plagiarized her doctoral thesis in 2008
                                                                            18   which is a requirement for a doctorate degree in the general area of clinical
                                                                            19   psychology. Doc. 489-5, Kimel Dep. at 71:7-10. Without that degree, she would
                                                                            20   not be a licensed clinical psychologist.
                                                                            21          The misrepresentations about Dr. Kimel’s background and credentials have
                                                                            22   continued. In plaintiffs’ opposition to this motion, they describe Dr. Kimel as a
                                                                            23   “board-certified Neuropsychologist” with a “Subspecial[ty] in Pediatric
                                                                            24   Neuropsychology.” Pls.’ Opp. at 2, 4. While those are precisely Dr. Kelderman’s
                                                                            25   credentials, Dr. Kimel is not board-certified in anything, she is not a
                                                                            26   neuropsychologist, and she has no pediatric subspecialty. See Doc. 489-4, Kimel
                                                                            27   Rep. at 1 (“I am a clinical psychologist.”); Doc. 489-5, Kimel Dep. 80:8-9; Ex. 1,
                                                                            28   White Decl. ¶ 3 (indicating that Dr. Kimel is not listed in the American Board of

                                                                                  Reply ISO Disney’s Mot. To Exclude Dr. Kimel   -2-                (No. 2:15-cv-05346-CJC-E)
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                                                                             1   Professional Psychology’s directory of board certified psychologists). This is a
                                                                             2   troubling misrepresentation given the significance of being board-certified in a
                                                                             3   specialized field.
                                                                             4   II.       DR. KIMEL’S OPINIONS ARE NOT RELIABLE
                                                                             5             As addressed in Disney’s motion, Dr. Kimel engaged in repeated plagiarism,
                                                                             6   relied on the results of an “informal survey” she conducted in a Denver Facebook
                                                                             7   group, 2 failed to consider or misstated important facts elicited in discovery, and
                                                                             8   admitted in her deposition that she could not “speak to” one of the two families
                                                                             9   whose DAS experience she nonetheless opined about in her report. In response,
                                                                            10   plaintiffs assert without explanation that Dr. Kimel’s opinions are “reliable and are
                                                                            11   based on quality research that cannot be question [sic].” Opp. at 6. They admit that
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                                                                            12   Dr. Kimel “should have done a better job” in her report but describe her plagiarism
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                                                                            13   as just “poor citation.”
                                                                            14             This attempt to minimize the flaws in what Dr. Kimel did in this case is an
                                                                            15   effort to cover up the real harm that allowing her to testify would produce: Because
                                                                            16   many of the opinions she espouses are lifted verbatim from studies written by
                                                                            17   others, the trier of fact will not know whom they are being asked to rely on and the
                                                                            18   real author cannot be cross examined. This is exactly the risk of “misleading the
                                                                            19   jury” which the Ninth Circuit spoke about in Daubert and it warrants Dr. Kimel’s
                                                                            20   exclusion from this case.
                                                                            21             Plaintiffs argue that the Court should not exclude expert opinions that are
                                                                            22   merely impeachable because that goes to weight, not admissibility, but the cases
                                                                            23   2
                                                                                   Plaintiffs claim that “Dr. Kimel did not rely on the survey to formulate her
                                                                            24   conclusions.” Opp. at 8. Both Dr. Kimel’s report and her testimony indicate
                                                                                 otherwise. See Doc. 489-4, Kimel Rep. at 25 (“I relied on Parent Facebook groups
                                                                            25   to get clarification on these programs . . . .”); id. at 32 (“These Facebook posts show
                                                                            26   that the DAS pass in and of itself is not sufficient to ensure a great experience for a
                                                                                 family of a child with ASD that has more severe autism symptoms . . . .”); Doc.
                                                                            27   489-5, Kimel Dep. at 138:5-11, 265:21-266:14 (testifying that she “needed” to rely
                                                                                 on these anonymous Facebook comments to understand the differences between
                                                                            28   DAS and Disney’s prior disability access program).

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                                                                             1   they cite are inapposite. For example, in Alaska Rent-A-Car v. Avis Budget Group,
                                                                             2   the defendant did not challenge the opposing expert witness’s general methodology,
                                                                             3   and only took issue with certain details of the expert’s analysis (such as which
                                                                             4   market he used in his damages calculation). 738 F.3d 960, 970 (9th Cir. 2013). 3
                                                                             5   Plaintiffs also cite a 14-year-old case from the Northern District of Texas to support
                                                                             6   their argument that plagiarism in an expert report does not warrant exclusion of that
                                                                             7   expert. Opp. at 8. But in that decision—which does not reveal the extent of the
                                                                             8   “alleged” plagiarism or whether the expert admitted to it—the court explicitly based
                                                                             9   its decision on the fact that the defendant “has not shown that [the alleged
                                                                            10   plagiarism] impacts the reliability of [the expert’s] opinions.” GWTP Invests., L.P.
                                                                            11   v. SES Americom, Inc., 2007 WL 7630459, at *5 (N.D. Tex. 2007).
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                                                                            12             Here, Dr. Kimel’s plagiarism significantly impacts the reliability of her
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                                                                            13   opinions, especially given that she adamantly denied under oath committing any
                                                                            14   plagiarism until confronted with specific examples. Mot. at 5-7. She is not an
                                                                            15   expert in the areas in which the trier of fact will have to render judgment, she
                                                                            16   portrayed the work of others as her own, and she failed—claiming she had
                                                                            17   insufficient time—to learn even the most basic facts about these two cases. 4
                                                                            18   Because Dr. Kimel’s opinions do not “rest[] on a reliable foundation,” they should
                                                                            19   be excluded in their entirety. Alaska Rent-A-Car, Inc., 738 F.3d at 969 (internal
                                                                            20   quotations omitted).
                                                                            21
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                                                                            23     Remarkably, plaintiffs suggest that Dr. Kimel’s opinions should not be excluded
                                                                                 because they “do not result in prejudice” to Disney. Opp. at 7. It is self-evident
                                                                            24   that proffering expert opinions based on incorrect and incomplete facts, plagiarized
                                                                                 source material, unethical research methods, and the presentation of opposing
                                                                            25   counsel’s views as her own would severely prejudice Disney, particularly given the
                                                                            26   imprimatur of authority attributed to an expert witnesses at trial or on appeal.
                                                                                 4
                                                                            27     Dr. Kimel testified that the four-hour visit at issue in E.W.V. was a three-day visit,
                                                                                 which suggests that her opinion could not possibly bear any relationship to what
                                                                            28   actually happened during that visit.

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                                                                             1   III. DR. KIMEL’S OPINIONS ARE NOT RELEVANT
                                                                             2          Disney comprehensively set forth in its motion the litany of relevant facts
                                                                             3   that Dr. Kimel did not review, as well as the specific facts she purportedly relied on
                                                                             4   but were inaccurate. Mot. at 16-19. Plaintiffs do not address, let alone rebut, these
                                                                             5   omissions and misstatements. Instead, they ask the Court to trust them when they
                                                                             6   represent that “Dr. Kimel conducted a thorough review of relevant facts which she
                                                                             7   cited in detail in her report.” Opp. at 9. But her deposition testimony clearly shows
                                                                             8   she did not conduct “a thorough review of the relevant facts,” and it is equally clear
                                                                             9   that the relevant facts in these two cases were not “cited in detail” in Dr. Kimel’s
                                                                            10   report.
                                                                            11          What is cited in Dr. Kimel’s report about the two park visits in these cases
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                                                                            12   are some of the plaintiffs’ allegations, principally from the interviews she
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                                                                            13   conducted with the mothers of the disabled plaintiffs, A.M.P. and L.A. But Dr.
                                                                            14   Kimel never read the deposition transcripts in sufficient detail (if she read them at
                                                                            15   all) to see if those allegations stood up to cross examination, which they did not.
                                                                            16   The “facts” Dr. Kimel “cited in detail” about T.J.A.’s DAS experience start at page
                                                                            17   43 of her report. See Doc. 489-4, Kimel Rep. at 43. For example, she refers to
                                                                            18   L.A.’s interrogatory answer which stated that prior to their visit to Walt Disney
                                                                            19   World, L.A. looked at the website and called Disney to inquire about the change in
                                                                            20   the priority access program. What Dr. Kimel neglected to include in her report is
                                                                            21   that L.A. admitted in her deposition that this sworn interrogatory answer was
                                                                            22   “false” and that she never contacted the company prior to their visit. Ex. 1-A, L.A.
                                                                            23   Dep. (2/3/21) at 118:10-119:25, 121:21-122:9. Everything else in this description
                                                                            24   of the “facts” was taken either from Dr. Kimel’s interview with L.A. or from L.A.’s
                                                                            25   interrogatory answers, and there is no mention of anything from the 385-page
                                                                            26   transcript of L.A.’s deposition, which elicited the actual facts about T.J.A.’s visit to
                                                                            27   WDW under DAS, as set forth in Disney’s Statement of Uncontroverted Facts
                                                                            28   (Doc. 486-2).

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                                                                             1             The same is true with the section of Dr. Kimel’s report, starting at page 46,
                                                                             2   that discusses the “facts” about E.W.V.’s 2014 visit to Disneyland. See Doc. 489-4,
                                                                             3   Kimel Rep. at 46. All of the information in this section appears to come from Dr.
                                                                             4   Kimel’s interview with E.W.V.’s mother, A.M.P., even though it conflicts with the
                                                                             5   testimony elicited in A.M.P.’s 287-page deposition. For example, Dr. Kimel’s
                                                                             6   description completely omits the fact that E.W.V. and his mother went on the Peter
                                                                             7   Pan and Dumbo rides and used DAS to do so. Dr. Kimel is apparently oblivious to
                                                                             8   the completely different version of the facts revealed in A.M.P.’s deposition, and
                                                                             9   this is fatal to the reliability of her opinions in a case that depends heavily on what
                                                                            10   transpired in Disney’s theme parks under DAS. 5
                                                                            11                                               CONCLUSION
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                                                                            12             For the reasons set forth above and in Disney’s instant motion, the Court
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                                                                            13   should enter an order excluding the testimony, opinions and report of Dr. Lila
                                                                            14   Kimel.
                                                                            15
                                                                                 Dated: April 19, 2021                              McDERMOTT WILL & EMERY LLP
                                                                            16
                                                                            17
                                                                                                                                    By: /s/ Kerry Alan Scanlon
                                                                            18                                                         Kerry Alan Scanlon
                                                                            19                                                         Attorney for Walt Disney Parks and
                                                                                                                                       Resorts U.S., Inc.
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                                                                            27     Courts routinely exclude expert testimony under these circumstances as irrelevant
                                                                                 because it does not shed meaningful light on the issues for decision. See Daubert,
                                                                            28   509 U.S. at 591.

                                                                                     Reply ISO Disney’s Mot. To Exclude Dr. Kimel    -6-                  (No. 2:15-cv-05346-CJC-E)
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                                                                             1                             CERTIFICATE OF SERVICE
                                                                             2           I certify that on April 19, 2021, I electronically filed the foregoing with the
                                                                             3   Clerk of the Court for the United States District Court, Central District of
                                                                             4   California, by using the CM/ECF system. Participants in the case who are
                                                                             5   registered CM/ECF users will be served by the CM/ECF system.
                                                                             6
                                                                             7                                                   /s/ Jeremy M. White
                                                                             8                                                   Jeremy M. White
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                                                                                  Certificate of Service                                             (No. 2:15-cv-05346-CJC-E)
